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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

In Re:                                              Case No: 11-39458-LMI
                                                    Chapter 13
HERNANDEZ, ANTONIO
SSN: XXX-XX-4436

BERNARDO, YANET
SSN: XXX-XX-6147
               Debtors/

    AGREED MOTION TO VACATE AGREED ORDER GRANTING MOTION TO
                    VALUE COLLATERAL IN PLAN


         COME NOW, Debtors, Antonio Hernandez and Yanet Bernardo, pursuant to

Bankruptcy Rule 9024, Federal Rule of Civil Procedure 60(b), and applicable decisional law,

move for an Order Vacating the Agreed Order Granting Motion to Value Collateral (D.E. #40),

which was Granted on January 30, 2012 and state as follows:

                                 Background Material and Facts

         1. The Debtors, through the undersigned counsel, filed the instant case on October 25th,

            2011.

         2. Through the filing of the instant case, the Debtors intended to save their property, the

            debtors’ motor vehicle, more particularly described as follows:

            Year and Model of motor vehicle: 2005 Ford Ranger

            Civil Case No.: 08-40918-CC-23

            Vehicle Identification Number (VIN #): 1FTYR10EX5PA57864

            Odometer reading: 118,170
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3. On December 13, 2011, the Debtors filed a Motion to Value Collateral in Plan (D.E.

   #29).

4. The Motion to Value Collateral in Plan (D.E. #29) requested the Court to determine

   the value of the subject property to be $4,255.04 and that L.W.T., Inc.’s claim shall

   be classified as a secured claim in the amount of $4,255.04, and as a general

   unsecured claim for any deficiency, and that the claim shall be paid through the plan

   at 5.25% for a total of $4,598.30 with monthly payments of $131.28.

5. On January 30, 2012 the Court entered an Agreed Order Granting Debtor’s Motion to

   Value Collateral (DE #40).

6. Prior to the Confirmation hearing scheduled on April 10, 2012, it became apparent to

   the Debtors that they could not afford their Chapter 13 plan payment and as a result

   the Debtors decided to surrender the subject property.

7. The Debtors are currently contributing all of their disposable income to the unsecured

   creditors through the Chapter 13 Plan, which currently pays 100% of the unsecured

   debt.

8. Based on the foregoing facts, the Debtors request the Court to Vacate the Agreed

   Order Grating Debtor’s Motion to Value Collateral.

                                       Applicable Law

9. Bankruptcy Rule 9024 provides for relief from Orders or Judgments, incorporating

   Federal Rule of Civil Procedure 60(b). Rule 60(b) permits relief from a Judgment or

   Order for, inter alia,

   (1) mistake, inadvertence, surprise, or excusable neglect; or

   (6) any other reason that justifies relief.
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                       Application of Law to Facts and Relief Sought

       10. The Debtors filed their Motion to Value Collateral (D.E. #29) when their intention

          was to keep the subject property.

       11. Due to the fact that the Debtors now wish to surrender the subject property, there has

          been a change in circumstances and the Agreed Order that was entered Granting

          Debtor’s Motion to Value Collateral (DE #40) is no longer applicable to the Debtors’

          treatment of the subject property.

       12. The Debtors are vacating the Order for the purpose of entering into an agreed order

          with L.W.T., Inc., for the 2000 Izusu Vin # JALF5C132Y7700366.

       13. Accordingly, the Debtors now seek an Order Vacating the Agreed Order Granting

          Debtor's Motion to Value Collateral (DE 40).

       WHEREFORE, undersigned counsel prays that this Honorable Court enter an Order

Vacating the Agreed Order on Debtor’s Motion to Value Collateral, and for any other relief the

Court deems just and appropriate.

                               CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a copy of the foregoing was sent via CM/ECF to Trustee Nancy
N. Herkert, Trustee, P.O. Box 279806, Miramar, FL 33027 and via regular and certified mail to
L.W.T., Inc., c/o Steven R. Braten, Esq., 551 SE 8th St., 4th Floor, Delray Beach, FL 33483;
L.W.T., Inc., c/o Shafritz and Braten, P.A., 551 SE 8th St., 4th Floor, Delray Beach, FL 33483;
this 10th day of April 2012.
                                            NAVARRO HERNANDEZ, P.L.
                                             Attorney for Debtor
                                             255 Alhambra Circle, Suite 640
                                             Coral Gables, FL 33134
                                             Telephone: 305-447-8707
                                             Facsimile: 305-447-3787

                                               By: /s/ Henry Hernandez________________
                                                  Henry Hernandez, Esq.
                                                  FL Bar No. 542601
